

Matter of Kammeyer v Manges-Merriman (2018 NY Slip Op 01813)





Matter of Kammeyer v Manges-Merriman


2018 NY Slip Op 01813


Decided on March 16, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 16, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, DEJOSEPH, TROUTMAN, AND WINSLOW, JJ.


385 CAF 16-01632

[*1]IN THE MATTER OF NICHOLAS J. KAMMEYER, PETITIONER-RESPONDENT,
vJAMI R. MANGES-MERRIMAN, RESPONDENT-APPELLANT. (APPEAL NO. 1.) 






DAVIS LAW OFFICE PLLC, OSWEGO (STEPHANIE N. DAVIS OF COUNSEL), FOR RESPONDENT-APPELLANT.
RUTHANNE G. SANCHEZ, WATERTOWN, FOR PETITIONER-RESPONDENT. 
SCOTT A. OTIS, WATERTOWN, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Jefferson County (Peter A. Schwerzmann, A.J.), entered August 8, 2016 in a proceeding pursuant to Family Court Act article 6. The order, inter alia, granted primary physical custody of the subject child to petitioner. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Matter of Eric D . [appeal No. 1], 162 AD2d 1051, 1051 [4th Dept 1990]).
Entered: March 16, 2018
Mark W. Bennett
Clerk of the Court








